Case 4:17-cr-00076-MSD-LRL Document 62 Filed 05/13/18 Page 1 of 2 PageID# 496




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                              Newport News Division

UNITED STATES OF AMERICA                         )
                                                 )
                 v.                              )    CRIMINAL NO. 4:17cr76
                                                 )
ELMER EMMANUEL EYCHANER, III,                    )
                                                 )
           Defendant.                            )

                                DISMISSAL OF COUNT ONE

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States of

America, by and through its attorneys, Tracy Doherty-McCormick, Acting United States Attorney

for the Eastern District of Virginia, and Megan M. Cowles, Assistant United States Attorney,

hereby files a dismissal of Count 1 of the Indictment in the above-caption case.

                                             Respectfully submitted,

                                             TRACY DOHERTY-MCCORMICK
                                             UNITED STATES ATTORNEY

                                                /s/
                                      By:    Megan M. Cowles
                                             Assistant United States Attorney
                                             Attorney for the United States
                                             United States Attorney=s Office
                                             Fountain Plaza Three, Suite 300
                                             721 Lakefront Commons
                                             Newport News, VA 23606
                                             Office Number - 757-591-400
                                             Facsimile Number - 757-591-0866
                                             E-Mail Address – megan.cowles@usdoj.gov

         Leave of Court is hereby granted to file the above-referenced dismissal of the Indictment
in this case.


                                      THE HONORABLE MARK S. DAVIS
                                      UNITED STATES DISTRICT JUDGE


                                               Date
Case 4:17-cr-00076-MSD-LRL Document 62 Filed 05/13/18 Page 2 of 2 PageID# 497




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will send a notification of such filing (NEF) to:

                                      Amanda Conner, Esq.
                                      Andrew Grindrod, Esq.



                                                    /s/
                                             Megan M. Cowles
                                             Assistant United States Attorney
                                             Attorney for the United States
                                             United States Attorney=s Office
                                             Fountain Plaza Three, Suite 300
                                             721 Lakefront Commons
                                             Newport News, VA 23606
                                             Office Number - 757-591-400
                                             Facsimile Number - 757-591-0866
                                             E-Mail Address – megan.cowles@usdoj.gov
